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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,

                         Plaintiffs,
        v.
                                                        Case No. 25-cv-381-ABJ
 RUSSELL VOUGHT, in his official capacity
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                         Defendants.


   UNOPPOSED MOTION FOR AN EXTENSION OF TIME TO FILE PLAINTIFFS’
             REPLY IN SUPPORT OF MOTION TO ENFORCE

       The plaintiffs respectfully request that the Court extend the deadline to file their reply in

support of their motion to enforce to Friday, April 25, 2025. The plaintiffs learned Wednesday

morning that the defendants’ production did not include hundreds of responsive records because a

processing error resulted in their omission. The defendants have represented that the production of

these additional records cannot be completed today. They have agreed to produce the records by

8pm Thursday, which is only hours before the plaintiffs’ brief would otherwise be due. The

defendants do not oppose this request.

 Dated: April 23, 2025                               Respectfully submitted,

 /s/ Deepak Gupta                                     /s/ Wendy Liu
 Deepak Gupta (DC Bar No. 495451)                    Wendy Liu (DC Bar No. 1600942)
 Robert Friedman (D.C. Bar. 1046738)                 Adam R. Pulver (DC Bar No. 1020475)
 Gabriel Chess (DC Bar No. 90019245)                 Allison M. Zieve (DC Bar No. 424786)
 Gupta Wessler LLP                                   Public Citizen Litigation Group
 2001 K Street, NW                                   1600 20th Street NW
 North Tower, Suite 850                              Washington, DC 20009
 Washington, DC 20006                                (202) 588-1000
 (202) 888-1741
                                                     Counsel for Plaintiffs



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Jennifer D. Bennett (pro hac vice)              Julie Wilson (DC Bar No. 482946)
Gupta Wessler LLP                               General Counsel
505 Montgomery Street                           Paras N. Shah (DC Bar No. 983881)
San Francisco, CA 94111                         Deputy General Counsel
(415) 573-0335                                  Allison C. Giles (DC Bar No. 439705)
                                                Assistant Counsel
Counsel for Plaintiffs                          National Treasury Employees Union
                                                800 K Street, NW, Suite 1000
                                                Washington, DC 20001
                                                (202) 572-5500

                                                Counsel for Plaintiff National Treasury
                                                Employees Union




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